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     ATTORNEYS AT LAW                                                                          File No. 42494.0-00003
  www.margolisedelstein.com


DELAWARE OFFICE:
                                                              January 31, 2022
300 Delaware Avenue
Suite 800                        Via CM/ECF Filing
Wilmington, DE 19801
302-888-1112
                                 The Honorable L. Felipe Restrepo
Fax: 302-888-1119                United States Court of Appeals for the 3rd Circuit
    __________                   18613 U. S. Courthouse
PHILADELPHIA OFFICE:*
                                 601 Market Street
The Curtis Center                Philadelphia, PA 19016
170 S. Independence Mall W.
Suite 400E
Philadelphia, PA 19106-3337              RE:     Laura O’Sullivan, et al. v. Quinton Watson, et al.
215-922-1100
                                                 United States District Court of Delaware
                                                 1:20-cv-00821 LFR
PITTSBURGH OFFICE:
525 William Penn Place
Suite 3300                       Dear Judge Restrepo:
Pittsburgh, PA 15219
412-281-4256
                                          Per your order dated January 28, 2022, please accept this letter as
SCRANTON OFFICE:*
                                 the settlement status report of the claims brought by the Plaintiffs in the
220 Penn Avenue                  above-referenced matter against Defendant Quinton Watson. All claims by
Suite 305
Scranton, PA 18503
                                 and against Mr. Watson have been resolved via a settlement agreement with
570-342-4231                     the other parties. The settlement agreement has been executed by all parties
                                 and it is anticipated a stipulation of dismissal with prejudice will be filed
HARRISBURG OFFICE:*              once the consideration within the agreement is received by Plaintiffs.
3510 Trindle Road
Camp Hill, PA 17011
717-975-8114                             I am available at the convenience of the Court, should your Honor
                                 have any questions.
WESTERN PA OFFICE:
983 Third Street
Beaver, PA 15009
                                                                        Respectfully,
724-774-6000
                                                                        /s/ Jennifer A. Sutton
CENTRAL PA OFFICE:
P.O. Box 628
Hollidaysburg, PA 16648
                                                                        Jennifer A. Sutton
814-695-5064                                                            Bar ID: 4419

SOUTH NEW JERSEY OFFICE:*
100 Century Parkway, Suite 200
P.O. Box 5084
                                 JAS
Mt. Laurel, NJ 08054             Cc: all counsel of record via CM/ECF
856-727-6000


NORTH NEW JERSEY OFFICE:
Connell Corporate Center
400 Connell Drive
Suite 5400
Berkeley Heights, NJ 07922
908-790-1401


*Member of the Harmonie Group
